Case 1:05-cv-Oll49-.]DT-STA Document 11 Filed 08/31/05 Page 1 of 3 K Page|D 4

IN THE UNITED STATES DISTRICT COURT
FOR THE WESTERN DISTRICT OF TENNESSEE \
EASTER_N DIVISION Cf _;i'j.: ,.

 

WANDA BENNETT )
)
Plaintiff, )
)
)
VS. ) Civil Action #: 05-1149T
)
COMMISSIONER OF )
S()CIAL SECURITY, )
)
Defendant. )
ORDER

Wherefore, for good cause shown and it appearing to the court that Plaintiff
requires extra time to prepare Plaintiff`s brief; because the Assistant United States Attorney
representing the government in this matter consents to the additional time requested; because
Plaintiff’s appeal attorney was retained at the appellate stage, and had no access to the record in
this matter until the government filed its answer and the record, and because additional time is
needed to adequately brief this case,

lt is, accordingly, ordered, adjudged, and decreed that Plaintiff is granted an

additional period of time, up to and including September 29, 2005, to tile a brief in support of her

_1_
Thls document entered on the docket sheet ln compllance

with Hule 58 and/or 79 (a) FHCP on _i iii “OJ`O

o

Case 1:05-cv-Oll49-.]DT-STA Document 11 Filed 08/31/05 Page 2 of 3 Page|D 5

appeal.

    

 

  
    
 

P. . ¢ /
Jackson, TN 38303-3
901-424-1305

TN BPR # 00660¢

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Certit`lcate of Service
I certify that I have mailed a true and exact copy fo the fore ¢ ng Proposed Order
to Joe Dycus, Assistant United States Attorney, 800 Fede . I 1 a uild` g, 167 North Main
Street, Memphis, TN 38103, this the 29th day of Aug :

  

   

UNIED STATSE DITRICT OURT - WESTRND STRTIC OF TENNSSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number ll in
case 1:05-CV-0] 149 Was distributed by faX, mail, or direct printing on
September 1, 2005 to the parties listed

 

 

Joe A. Dycus

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Honorable J ames Todd
US DISTRICT COURT

